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       ORDERED in the Southern District of Florida on July 18, 2022.




                                                 Robert A. Mark, Judge
_____________________________________________________________________________
                                                 United States Bankruptcy Court




                           IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF FLORIDA
                                        MIAMI DIVISION
       In re:

       REINA J. ORTIZ BARRIENTOS                                         CASE NO. 17-17071-RAM
       AKA REINA ORTIZ BARRIENTOS                                        CHAPTER 13
       AKA REINA J BARRIENTOS
       AKA REINA JUDITH ORTIZ BARRIENTOS
       AKA REINA JUDITH ORTIZ
       AKA REINA ORTIZ
       AKA REINA JUDITH BARRIENTOS
       AKA REINA BARRIENTOS
       AKA REINA J ORTIZ


                         Debtor.
       _______________________________/

                       ORDER GRANTING CREDITOR’S MOTION TO DISMISS

                THIS CASE came on for hearing on the Chapter 13 Trustee’s consent portion of the

       calendar on July 12, 2022 at 9:00AM on the Creditor’s Motion To Dismiss (“Motion”) filed by




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Toyota Motor Credit Corporation (“Movant”) (Doc. No. 60). For the reasons stated on the record,

it is

        ORDERED:
        1.     The Motion (Doc. No. 60) is Granted.

        2.     This case is dismissed.

        3.     All pending motions are denied as moot.

        4.     The Trustee shall file a final report prior to the administrative closing of the case.

        5.     (If applicable) the debtor shall immediately pay to the Clerk, U.S. Court, C. Clyde

Atkins United States Courthouse, 301 North Miami Avenue, Room 150, Miami, FL 33128 $0.00

for the balance of the filing fee as required by Local Rule 1017-2(E). Any funds remaining with

the trustee shall be applied to this balance and the trustee must dispose of any funds in accordance

with the Bankruptcy Code and Local Rule 1017-2(F), unless otherwise ordered by the court. The

court will not entertain a motion for reconsideration of this order unless all unpaid fees are paid at

the time the motion is filed.

        6.     A motion to rehear, reconsider, or reinstate a dismissed case must be filed in

accordance with the requirements of Local Rule 9013-1(E).

        7.     In accordance with Local Rule 1002-1(B)(1), the clerk of court is directed to refuse

to accept for filing any future voluntary petitions submitted by this debtor if the refiling violates a

prior order of the court or if the petition is accompanied by an Application to Pay Filing Fee in

Installments and filing fees remain due from any previous case filed by the debtor.



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Submitted by:

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Counsel for Movant is directed to serve a copy of this order to all interested parties and file a
Certificate of Service with the Court.




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